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Attorney for Plaintiff
ERIC STE[NMETZ

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

 

ERlC STEINMETZ> Civil Action No.:

Plaintiff,

V.

CITIGRoUP, INC., f COMPLAINT

Defendant.

 

For this Cornplaint, the Plaintiff, ERIC STEINMETZ, by undersigned

counsel, states as follows:

,l URISDICTION

1. This action arises out of Defendant’s violations of the Telephone
Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”) by negligently,
knowingly, and/or Willfully placing automated calls to Plaintiff"s cellular phone

without consent, thereby violating the TCPA.

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2. This action is also brought under Nevada Revised Statutes Chapter
598.0918 (“NRS 598”) and Nevada Revised Statutes Chapter 41.600 et seq. (“NRS
41.600”) for Defendant’s deceptive trade practices as further described herein.

3. Plaintiff alleges as follows upon personal knowledge as to Plaintiff
and Plaintiff’s own acts and experiences, and, as to all other matters, upon
information and belief, including investigation conducted by Plaintiff’s attorneys.

4. Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367 and this
Court has original jurisdiction over Plaintiff" s TCPA claims. Mims v. Arrow Fin.
Serv., LLC, 132 S.Ct. 740 (2012).

5. Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) &
(c), because Plaintiff resides within the District of Nevada, a substantial portion of
the events or omissions giving rise to the claim occurred in this District, and

Defendant regularly conducts business in this District.

PARTIES
6. The Plaintiff, ERIC STEINMETZ (“Plaintit`f” or “Mr. Steinmetz”), is

an adult individual residing in Las Vegas, Nevada.

7 . Plaintiff is, and at all times mentioned herein was, a “person” as
defined by 47 U.S.C. § 153(39).

8. Defendant CITIGR()UP, INC. (“CITI”), is doing business in the

State of Nevada.

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9. Defendant is and at all times mentioned herein was, a corporation and
is a “person,” as defined by 47 U.S.C. § 153 (39).

10. CITI at all times acted by and through one or more of its agents or
representatives

THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

11. In 1991, Congress enacted the TCPA in response to a growing number
of consumer complaints regarding certain telemarketing practices

12. The TCPA regulates, among other things, the use of automated
telephone dialing systems.

13. 47 U.S.C. § 227(a)(1) defines an automatic telephone dialing system
(“ATDS”) as equipment having the capacity -

(A) to store or produce telephone numbers to be called,
using a random or sequential number generator; and

(B) to dial such numbers.

14. Specifically, 47 U.S.C. § 227(1)(A)(iii) prohibits any call using an
ATDS or an artificial or prerecorded voice to a cellular phone without prior
express consent by the person being called, unless the call is for emergency
purposes

15. According to findings by the Federal Comrnunications Commission
(“FCC”), such calls are prohibited because automated or prerecorded telephone

calls are a greater nuisance and invasion of privacy than live solicitation calls. The

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FCC also recognized that Wireless customers are charged for incoming calls.l

16. On January 4, 2008, the FCC released a Declaratory Ruling Wherein it
confirmed that autodialed and prerecorded calls to a wireless number by a creditor,
or on behalf of a creditor, are permitted only if the calls are made with the “prior
express consent” of the called party.2

17. On July 10, 2015, the FCC issued FCC Order 15-72, wherein the
FCC3 stated that “[a] caller may not limit the manner in Which revocation [of prior
express consent to call] may occur” and that the “burden is on the caller to prove it
obtained the necessary prior express consent”. Id. at ‘ll 30.

18. Further, consumers (like the Plaintiff) may revoke consent through
any reasonable means. Id. at ‘ll 47.

19. Nothing in the language of the TCPA or its legislative history
supports the notion that Congress intended to override a consumer’s common law

right to revoke consent. Id. at il 58.

 

l Rules anal Regulations lmplementing the Telephone Consumer Protection Act of 1991 , CG
Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003).

2 [n the Matter of Rules and Regulations lmplementing the Telephone Consumer Protection Act
of 199], 23 F.C.C.R. 559, 23 FCC Rcd 559, 43 Communications Reg. (P&F) 877, 2008 WL
65485 (F.C.C.) (2008).

3 See Declaratory Ruling and Order, Adopted June 18, 2015 and Released July 10, 2015
regarding In the Matter of Rules and Regulations implementing the Telephone Consumer
Protection Act of 1991, CG Docket No. 02-278, WC Docket No. 07-135
(https://apps.fcc.gov/edocs public/attachmatch/FCC-15-72A1.pdf).

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20. Indeed, some consumers may find unwanted intrusions by phone more
offensive than home mailings because they can cost them money and because, for
many, their phone is with them at almost all times Id. at il 61.

21. Consumers have a right to revoke consent, using any reasonable
method including orally or in writing. Id. at il 64.

ALLEGATIONS APPLICABLE TO ALL COUNTS

22. Plaintiff was issued a “My Best Buy® Visa® Card” credit card ending
in account No. 2684 (the “Account”) through the Defendant’s company.

23. Mr. Steinmetz made timely payments on the Account, however began
struggling to meet his financial obligations

24. Mr. Steinmetz then consulted with and subsequently hired a
bankruptcy attorney.

25. Thereafter, Mr. Steinmetz, now in contemplation of filing Chapter 13
Bankruptcy, ceased payments to his creditors, including the Account.

26. Accordingly, Mr. Steinmetz defaulted on the Debt.

27. Thereafter, and within the four years prior to filing the instant
complaint, the Plaintiff received numerous calls from the Defendant from the

following phone numbers: (469) 914-7211 and (877) 561-2272.

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28. Upon information and belief, Defendant employs an automatic
telephone dialing system (“ATDS”) which meets the definition set forth in 47 U.S.C.
§ 227(a)(1).

29. Defendant or its agent/s contacted Plaintiff on Plaintiff’s cellular
telephone number ending in “9603” via an ATDS as defined by 47 U.S.C. §
227(a)(1), as prohibited by 47 U.S.C. § 227(b)(1)(A).

30. ln the calls that Plaintiff did answer, there would be a short pause
lasting about two to three seconds between the time the calls were answered and the
time that a live agent introduced themselves as a representative from Defendant.

31. Upon information and belief, based on the pause and lack of prompt
human response during the phone calls in which Plaintiff answered, Defendant used a
predictive dialing system to place calls to Plaintiff.

32. “A predictive dialer is equipment that dials numbers and, when certain
computer software is attached, also assists [caller] in predicting when an [agent] will
be available to take calls The hardware, when paired with certain software, has the
capacity to store or produce numbers and dial those numbers at random, in sequential
order, or from a database of numbers.” Meyer v. Portfolio Recovery Associates, LLC,
707 F.3d 1036, 1043 (9th Cir. 2012).

33. The F ederal Communications Commission (“FCC”) has determined that

predictive dialing systems are a form of an automatic telephone dialing system. Ia'.

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34. Upon information and belief, the predictive dialing system employed by
Defendant transfers the call to a live agent once a human voice is detected, thus
resulting in a pause after the called party speaks into the phone.

35. On or about May 30, 2016 at 06:14 PM ET, Plaintiff instructed
Defendant or its agent(s) not to call the Plaintiff’s cell phone ever again thereby
revoking consent, if any ever existed, to be contacted by Defendant via an ATDS.

36. Specifically, Mr. Steinmetz logged into the Account via an online portal
maintained by the Defendant and advised the Defendant (via the Defendant’s online
portal) the following:

To whom it may concern, My name is Eric Steinmetz and
you have a debt in my name. This web e-mail serves as
notice that I am not to be contacted by your company
regarding this debt. I have retained a lawyer and all
further communication is to be through my lawyer. My
lawyer is: George Haines, Esq. Haines & Krieger 8985 S.
Eastern Ave. Suite #130 Las Vegas, NV 89123 702-880-
5554 Sincerely, Eric Steinmetz

37. The above email was received and processed by the Defendant.

38. However, the Defendant thereafter continued placing dozens of
collection calls to the Plaintiff’ s cell phone using an ATDS notwithstanding the
Plaintiff"s clear revocation of consent to place such calls

39. Defendant’s ATDS has the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.

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40. The telephone number that Defendant used to contact Plaintiff was and
is assigned to a cellular telephone service as specified in 47 U.S.C. §
227(b)(1)(A)(iii).

41. Many of the calls Were also pre-recorded messages

42. Defendant’s calls to Plaintiff's cellular telephone Were not for
“emergency purposes.”

43. Pursuant to the TCPA and the FCC’s January 2008 Declaratory Ruling,
the burden is on Defendant to demonstrate that it had prior express consent to call
Plaintiff’s cellular phone with an ATDS.

44. The Plaintiff suffered actual harm and loss, since the unwanted calls
depleted the Plaintiff’s cell phone’s battery, and the cost of electricity to recharge the
phone is a tangible harm. While small, this cost is a real one, and the cumulative
effect can be consequential, just as is true for exposure to X~rays resulting from the
Defendant’s unwanted phone calls to the Plaintiff’s cell phone.

45. Plaintiff also suffered from an invasion of a legally protected interest by
placing calls to the Plaintiff’s personal phone line when the Defendant had no right to
do so, resulting in an invasion of Plaintiff‘s right to privacy. The TCPA protects
consumers from this precise behavior.

46. Plaintiff has a common law right to privacy. E.g., Samuel D. Warren &

Louis D. Brandeis, The Right to Privacy, 4 Harv. L. Rev. 1155, 193 (1890).

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Congress sought to further protect that right by enacting the TCPA.

47. Plaintiff was also personally affected, since the Plaintiff felt that the
Plaintiff’s privacy had been invaded when the Defendant placed calls to the
Plaintiff`s phone line Without any consent to do so.

48. The injury suffered by Plaintiff is concrete because Defendant’s
violations caused Plaintiff to suffer an invasion of privacy.

_CQ\LTI
Negligent Violations of the

Telephone Consumer Protection Act,
(47 U.S.C. § 227, et seq.)

49. Plaintiff repeats and realleges the above paragraphs of this Complaint
and incorporates them herein by reference.

50. Defendant negligently placed multiple automated calls to cellular
numbers belonging to Plaintiff without Plaintiff’s prior express consent.

51. Each of the aforementioned calls by Defendant constitutes a negligent
violation of the TCPA.

52. As a result of Defendant’s negligent violations of the TCPA, Plaintiff
is entitled to an award of $500.00 in statutory damages for each call in violation of
the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

53. Additionally, Plaintiff is entitled to and seek injunctive relief

prohibiting such conduct by Defendant in the future.

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COUNT II
Knowing and/or Willful Violations of the

Telephone Consumer Protection Act,
(47 U.S.C. § 227, et seq.)

54. Plaintiff repeats and realleges the above paragraphs of this Complaint
and incorporates them herein by reference

55. Defendant knowingly and/or willfully placed multiple automated calls
to cellular numbers belonging to Plaintiff without Plaintiff`s prior express consent.

56. Each of the aforementioned calls by 1)efendant constitutes a knowing
and/or willful violation of the TCPA.

57. As a result of Defendant’s knowing and/or willful violations of the
TCPA, Plaintiff is entitled to an award of treble damages up to $1,500.00 for each
call in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
227(b)(3)(C).

58. Additionally, Plaintiff is entitled to seek injunctive relief prohibiting
such conduct by Defendant in the future.

COUNT III

Defendant’s Violations of Nevada’s
Deceptive Trade Practices Act
(NRS 598.0918)
59. Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

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60. “Solicitation” means “the act of . . . seeking to obtain” something - in
this case money. Solicitation, Black’s Law Dictionarv (2d Pocket Ed. 2001).

61. On March 13, 2001, Assembly Bill 337 (AB 337) was introduced to
the Nevada State Legislature. AB 337 revised Nevada’s Deceptive Trade Practices
statutes codified at NRS 598 et seq.

62. In specific, AB 337 made it a deceptive trade practice to, during a
solicitation by telephone, to:

a. Repeatedly or continuously conduct the solicitation or presentation in
a manner that is considered by a reasonable person to be annoying,
abusive or harassing;

b. Solicit a person by telephone at his or her residence between 8 p.m.
and 9 a.m.

63. On numerous occasions Defendant violated NRS 598.0918(3) by
placing calls to Plaintiff"s telephone before 9:00 a.m. and after 8:00 p.m.
Specifically, Defendant placed calls to Plaintiffs cell phone before 9:00 a.m. and

after 8:00 p.m. on (at least) the following dates and times:

5/31/16 8:04 AM
6/2/16 8:07 AM
6/2/16 8:57 AM
6/2/16 9:05 PM
6/7/16 8:06 AM
6/9/16 8:04 AM
6/11/16 8:03 AM
6/14/16 8:07 AM
6/16/16 8:06 AM
6/18/16 8:03 AM
6/21/16 8:07 AM
6/23/16 8:05 AM

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64. Defendant repeatedly and continuously placed telephone calls to the
Plaintiff’s residential phone (which is also the Plaintiff"s cellular phone) to solicit
money from the Plaintiff in a manner that would be considered annoying, abusive

or harassing by a reasonable person as follows:

5/30/16 3:14 PM
5/31/16 8:04 AM
5/31/16 2105 PM
5/31/16 5:06 PM
6/1/16 6:04 PM
6/2/16 8:07 AM
6/2/16 8:57 AM
6/2/16 11:08 AM
6/2/16 2208 PM
6/2/16 5:11 PM
6/2/16 9:05 PM
6/3/16 10:01 AM
6/3/16 6:04 PM
6/4/16 4:04 PM
6/5/16 9:04 AM
6/5/16 12:05 PM
6/5/16 3:07 PM
6/6/16 10:01 AM
6/6/16 10:26 AM
6/6/16 6:08 PM
6/7/16 8:06 AM
6/7/1611:06 AM
6/7/16 2:07 PM
6/7/16 5:09 PM
6/8/16 10:01 AM
6/8/16 6103 PM
6/9/16 8:04 AM
6/9/16 2:05 PM
6/9/16 5:07 PM
6/10/1610:01AM
6/10/16 6:05 PM
6/11/16 8:03 AM
6/11/16 4:04 PM
6/12/16 9:08 AM
6/12/1612:09 PM
6/12/16 3:10 PM
6/13/1610:01AM

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6/13/16 2202 PM
6/13/16 6:03 PM
6/14/16 8:07 AM
6/14/1611:08 AM
6/14/16 2:08 PM
6/15/16 10:01 AM
6/15/16 2:06 PM
6/16/16 8:06 Al\/I
6/16/1611:07 AM
6/16/16 2:08 PM
6/16/16 5:09 PM
6/17/16 10:02 AM
6/17/16 2:04 PM
6/17/16 6:14 Pl\/l
6/18/16 8:03 AM
6/18/16 4:05 PM
6/19/16 9:03 AM
6/19/1612:04 PM
6/19/16 3:05 PM
6/20/16 10:03 AM
6/20/16 2:11 PM
6/20/16 6:27 PM
6/21/16 8:07 AM
6/21/16 2110 PM
6/21/16 5:12 PM
6/22/16 10:02 AM
6/22/16 2:05 PM
6/22/16 6:05 PM
6/23/16 8:05 AM
6/23/16 11:06 AM
6/23/16 2:07 PM

65. Although the abuse should be evident from the serial dialing
campaign above, Defendant also placed calls to Plaintist residential cell phone
even after the Plaintiff demanded Defendant cease calls to the Plaintiff.

66. Notably, the above residential calls all occurred after Mr. Steinmetz
advised the Defendant on May 30, 2016 (in writing) to cease communications with

him and direct all future communications to his attorney.

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67. Further, on June 2, 2016 Mr. Steinmetz faxed the Defendant a demand
to cease its collections calls to his residential cell phone at 9:05 PM to fax number
505-797-6357.

68. Again, on June 17, 2016 at 10:02 AM, Mr. Steinmetz (who was
rightfully upset and frustrated by the dozens of harassing calls received from the
Defendant) answered the Defendant’s call from 877-561-2272 and again stated
“don’t ever call this number again.”

69. However, as itemized above, the Defendant’s calls persisted.

70. Such conduct is unquestionably harassing and annoying.

71. As a direct consequence of Defendant’s harassing phone calls, acts,
practices and conduct, the Plaintiff suffered and continues to suffer from anger,
anxiety, emotional distress, frustration, rage, headaches, an upset Stomach, heart
palpitations, and has otherwise been totally annoyed by Defendant’s intrusive and
illegal phone calls Plaintiff has also lost the use of personal and family time while
enduring these frustrations, as well as lost time and minutes from cell phone use,
for which the Plaintiff is charged a fee.

72. Defendant therefore violated NRS 598.0918(2).

73. Defendant’s violations of NRS 598.0918 constitute violations of NRS

41.600 and the Plaintiff is entitled to relief under NRS 41.600.

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PRAYER FOR RELIEF
WHEREFORE, the Plaintiff prays that judgment be entered against the
Defendant awarding the Plaintiff:

1. lnjunctive relief prohibiting such violations of the TCPA by Defendant
in the future;

2. Statutory damages of $500.00 for each and every call in violation of the
TCPA pursuant to 47 U.S.C. § 227(b)(3)(B);

3. Treble damages of up to $1,500.00 for each and every call in violation
of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(C);

4. Actual damages including, but not limited to, the emotional distress the
Plaintiff has suffered (and continues to suffer) as a result of the
intentional, reckless, and/or negligent violations of NRS 598.0918 as
permitted under NRS 41.600;

5. An award of attorney’s fees and costs to counsel for Plaintiff; and

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6. Such other relief as the Court deems just and proper.

TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: June 30, 2016

Respectfully submitted,

By: /s[ David H. Krieger, Esg.

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